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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SANDY RICKETTS                        : CIVIL ACTION
                                      :
                       Plaintiff,     : NO: 15-4726
                                      :
                                      :
      v.                              :
                                      :
BIEBER TIME TOURING, LLC, c/o TSG     :
FINANCIAL MANAGEMENT, LLC; BIEBER     :
TIME MERCHANDISE, LLC, c/o TSG        :
FINANCIAL MANAGEMENT, LLC; JUSTIN     :
                                      :
BIEBER, c/o TSG FINANCIAL MANAGEMENT, :
LLC; AND PATRICIA MALLETTE, c/o TSG   :
FINANCIAL MANAGEMENT, LLC             :
                                      :
                       Defendants.    :


  ANSWER WITH AFFIRMATIVE DEFENSES OF DEFENDANTS TO PLAINTIFF’S
                          COMPLAINT

        Defendants, Bieber Time Touring, LLC, Bieber Time Merchandise, LLC, Justin Bieber,

and Patricia Mallette (hereinafter, “Answering Defendants”), by and through their attorneys,

White and Williams LLP, hereby submit the following Answer with Affirmative Defenses to

Plaintiff’s Complaint and state as follows:

        1.     Admitted to the best of Answering Defendants’ knowledge.

        2.     Denied as stated. At all times material hereto, Answering Defendant, Bieber Time

Touring, LLC, was a Delaware corporation with a principal place of business located in the State

of Georgia.

        3.     Denied as stated. At all times material hereto, Answering Defendant, Bieber Time

Merchandise, LLC, was a Delaware corporation with a principal place of business located in the

State of Georgia.




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         4.       Admitted in part; denied in part. It is only admitted that Justin Bieber is an adult

individual. Mr. Bieber is a citizen of Canada who resides in the State of California.1 All

remaining allegations, including those pertaining to alleged agency, ownership, management

and/or control, are specifically denied as conclusions of law to which no responsive pleading is

required. To the extent that a response is required, the allegations of this paragraph are denied

and strict proof thereof is demanded at the time of trial. Any and all allegations pertaining to an

alleged contract with AEG Live, LLC, dated January 31, 2012, and any amendments related

thereto, pertaining to a series of concerts identified as “the Justin Bieber Believe tour” are denied

insofar as the contract(s) are writings which speak for themselves and constitute the best

evidence of their content.

         5.       Admitted in part; denied in part. It is only admitted that Patricia Mallette is an

adult individual. Ms. Mallette is a citizen of Canada who resides in the State of Hawaii. All

remaining allegations, including those pertaining to alleged agency, ownership, management

and/or control, are specifically denied as conclusions of law to which no responsive pleading is

required. To the extent that a response is required, the allegations of this paragraph are denied

and strict proof thereof is demanded at the time of trial. Any and all allegations pertaining to an

alleged contract with AEG Live, LLC, dated January 31, 2012, and any amendments related

thereto, pertaining to a series of concerts identified as “the Justin Bieber Believe tour” are denied

insofar as the contract(s) are writings which speak for themselves and constitute the best

evidence of their content.




1
  Defendants’ counsel, in its Notice of Removal, mistakenly characterized Justin Bieber as a citizen of California. As
stated in this Answer, Defendant, Justin Bieber, is a citizen of Canada who resides in the State of California.
Notwithstanding this clarification, removal of this case to federal court was/is proper pursuant to 28 U.S.C. §§ 1441,
et seq. based on complete diversity of citizenship between the parties.

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        6.     Denied. After reasonable investigation, Answering Defendants lack sufficient

knowledge or information sufficient to form a belief as to the truth or falsity of the averments

contained in this paragraph.

        7.     Denied. The allegations in this paragraph state conclusions of law to which no

response is required. By way of further answer, the allegations of agency are not sufficiently

specific to permit Answering Defendants to respond. In particular, Plaintiff fails to identify the

alleged agents, their agency relationship, and the scope of the alleged agent’s authority and,

therefore, all allegations of agency are denied. To the extent a response is deemed required, all

allegations of agency are specifically denied and strict proof thereof is demanded at the time of

trial. By way of further answer, Answering Defendants incorporate by reference the Affirmative

Defenses set forth below as though the same were fully set forth at length herein.

        8.     Denied. The allegations in this paragraph state conclusions of law to which no

response is required. It is specifically denied that Answering Defendants, Bieber Time

Merchandise, LLC, Justin Bieber, and/or Patricia Mallette, owed the Plaintiff a duty as alleged

and all such allegations are denied. Additionally, Answering Defendant, Bieber Time Touring

LLC, after reasonable investigation, is without knowledge or information with regard to the

specific claimed hazardous defect and condition and/or the exact location of Plaintiff’s fall and

the premises involved and, therefore, all allegations of legal duty are denied at this time. By way

of further answer, Answering Defendants incorporate by reference the Affirmative Defenses set

forth below as though the same were fully set forth at length herein.

        9.     Denied. The allegations in this paragraph state conclusions of law to which no

response is required. All allegations of the existence of a dangerous condition and actual or

constructive knowledge of such alleged dangerous condition are denied. By way of further



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answer, Answering Defendants incorporate by reference the answer to paragraph 8 of Plaintiff’s

Complaint, as well as the Affirmative Defenses set forth below, as though the same were fully

set forth at length herein.

        10.     Denied. The allegations in this paragraph state conclusions of law to which no

response is required. To the extent a response is deemed required, all allegations contained in

this paragraph are specifically denied and strict proof thereof is demanded at the time of trial. It

is further specifically denied that any obstructions, defects and/or irregularities existed and/or

created a dangerous condition at the subject premises on the date in question. By way of further

answer, Answering Defendants incorporate by reference their answers to paragraphs 8 and 9 of

Plaintiff’s Complaint, as well as the Affirmative Defenses set forth below, as though the same

were fully set forth at length herein.

        11.     Denied. The allegations in this paragraph state conclusions of law to which no

response is required. By way of further answer, all allegations of causation and damages are

denied. To the extent a response is deemed required, all allegations contained in this paragraph

are specifically denied and strict proof thereof is demanded at the time of trial. It is further

specifically denied that any defective or hazardous condition existed at the subject premises on

the date in question. By way of further response, Answering Defendants incorporate by reference

their answers to paragraphs 8 through 10 of Plaintiff’s Complaint, as well as the Affirmative

Defenses set forth below, as though the same were fully set forth at length herein.

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        12.     Answering Defendants incorporate by reference their answers to paragraphs 1

through 11 of Plaintiff’s Complaint as though the same were fully set forth at length herein.




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        13.    Denied. The allegations in this paragraph state conclusions of law to which no

response is required. To the extent a response is deemed required, all allegations contained in

this paragraph are specifically denied and strict proof thereof is demanded at the time of trial. It

is further specifically denied that any defective or hazardous condition existed at the subject

premises on the date in question and/or that Answering Defendants, or any of their agents,

servants, workmen, or employees, violated a duty of care owed to Plaintiff. Answering

Defendants incorporate by reference their answers to paragraphs 8 and 9 of Plaintiff’s Complaint

as though the same were fully set forth at length herein. By way of further answer, Answering

Defendants deny, after reasonable investigation, actual or constructive knowledge of any claimed

dangerous condition on the subject premise, as well as the existence of such claimed dangerous

condition. By way of further answer, Answering Defendants incorporate by reference the

Affirmative Defenses set forth below as though the same were fully set forth at length herein.

        14.    Denied. The allegations in this paragraph and subparagraphs state conclusions of

law to which no response is required. To the extent a response is deemed required, all allegations

contained in this paragraph and subparagraphs are specifically denied and strict proof thereof is

demanded at the time of trial. It is further specifically denied that any defective or hazardous

condition existed at the subject premises on the date in question and/or that Answering

Defendants, or any of their agents, servants, workmen, or employees, violated a duty of care

owed to Plaintiff. By way of further answer, Answering Defendants incorporate by reference

their answers to paragraphs 8, 9, and 13 of Plaintiff’s Complaint as though the same were fully

set forth at length herein. All allegations of negligence, including the allegations set forth in

subparagraphs (a)-(p) are denied. Answering Defendant incorporates by reference the

Affirmative Defenses set forth below as though the same were fully set forth at length herein.



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        15-18. Denied. After reasonable investigation, Answering Defendants lack sufficient

knowledge or information sufficient to form a belief as to the truth or falsity of the averments

contained in these paragraphs as it pertains to the nature and extent of Plaintiff’s alleged injuries.

All allegations of damages and causation are denied at this time. The remaining allegations of

these paragraphs state conclusions of law to which no response is required. To the extent a

response is deemed required, all allegations contained in these paragraphs are specifically denied

and strict proof thereof is demanded at the time of trial.

        WHEREFORE, Answering Defendants respectfully request that judgment be entered in

their favor and against Plaintiff.

                                     AFFIRMATIVE DEFENSES

                               FIRST AFFIRMATIVE DEFENSE

        Plaintiff’s Compliant, in whole or in part, fails to state a cause of action upon which relief

can be granted as to each of the Answering Defendants.

                              SECOND AFFIRMATIVE DEFENSE

        The injuries sustained by Plaintiff may have been caused, in whole or in part, or may

have been contributed to by the actions and/or negligence of Plaintiff and, accordingly, any claim

for damages is barred, or the damages recoverable herein must be reduced in accordance with,

the provisions of the Pennsylvania Comparative Negligence Act.

                               THIRD AFFIRMATIVE DEFENSE

        Plaintiff assumed the risk of her alleged injuries.

                             FOURTH AFFIRMATIVE DEFENSE

        Plaintiff’s claims may be barred, in whole or in part, by the doctrines of laches, collateral

estoppel, res judicata, by an accord and satisfaction, and/or release of some or all claims.




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                              FIFTH AFFIRMATIVE DEFENSE

        The dangerous condition, as alleged to have existed in Plaintiff’s Complaint, may have

been open and/or obvious to Plaintiff and, therefore, Answering Defendants owed no duty to

Plaintiff under the circumstances.

                              SIXTH AFFIRMATIVE DEFENSE

        Answering Defendants, Bieber Time Merchandise, LLC, Justin Bieber, and Patricia

Mallette, owed no legal duty to the Plaintiff under the circumstances.

                                SEVENTH AFFIRMATIVE DEFENSE

        Answering Defendants, Bieber Time Merchandise, LLC, Justin Bieber, and Patricia

Mallette, did not have actual or constructive knowledge of any alleged dangerous condition, the

existence of which is denied, on the subject premises prior to or at the time in question.

                             EIGHTH AFFIRMATIVE DEFENSE

        Answering Defendant, Bieber Time Touring, LLC, did not have actual or constructive

knowledge of any alleged dangerous condition on the subject premises prior to or at the time in

question and this constitutes a complete defense to the within cause of action.

                              NINTH AFFIRMATIVE DEFENSE

        Plaintiff’s Complaint may be barred by the applicable statute of limitations.

                             TENTH AFFIRMATIVE DEFENSE

        If Plaintiff suffered any injuries and/or any damages as is alleged in Plaintiff’s

Complaint, all of which are specifically denied, then said injuries and losses may have been

caused solely by the negligence of third parties or other persons over whom Answering

Defendants exercised no control or right of control and for whose negligent conduct, if proven,

Answering Defendants are not liable.




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        WHEREFORE, Answering Defendants respectfully request judgment be entered in their

favor and against Plaintiff.




                                                   WHITE AND WILLIAMS LLP
                                                   Attorneys for Defendants,

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Dated: September 1, 2015




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                                CERTIFICATE OF SERVICE

        I, Andrew F. Susko, Esquire, hereby certify that a true and correct copy of the foregoing

Answer to Plaintiff’s Complaint was filed via the Eastern District Court's ECF Filing System and

served upon counsel listed below by the Court's ECF filing system and is available for viewing

and downloading.

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                                                        WHITE AND WILLIAMS LLP
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Dated: September 1, 2015




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